Case 2:15-cv-02561-STA-cgc Document 23 Filed 12/31/15 Page 1 of 2                      PageID 544



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION

6111 RIDGEWAY GROUP, LLC,                     )
                                              )
         Plaintiff,                           )
                                              )       No. 2:15-cv-02561-STA-cgc
v.                                            )
                                              )       JURY DEMANDED
PHILADELPHIA INDEMNITY                        )
INSURANCE COMPANY also doing                  )
business as PHILADELPHIA                      )
INSURANCE COMPANIES, and                      )
CUNNINGHAM LINDSEY U.S., INC.,                )
                                              )
         Defendants.                          )


                     DEFENDANT CUNNINGHAM LINDSEY U.S., INC.’S
                  PARTIAL MOTION FOR JUDGMENT ON THE PLEADINGS


         Defendant Cunningham Lindsey U.S., Inc. (“Cunningham Lindsey”), by and through its

counsel and pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, respectfully moves

the Court for an order dismissing Plaintiff’s claims for breach of contract, bad faith, constructive

fraud and negligent misrepresentation, and violations of the Tennessee Consumer Protection Act,

to the extent such claims are directed at Cunningham Lindsey. As grounds for its Motion,

Cunningham Lindsey submits that, inasmuch as the foregoing claims are directed at Cunningham

Lindsey, Plaintiff failed to state a claim upon which relief can be granted and Cunningham

Lindsey is therefore entitled to judgment on the pleadings.           In support of its Motion,

Cunningham Lindsey relies on the memorandum of law filed contemporaneously herewith and

the entire record in this cause.



                                                  1

M MWW 2719551 v1
2790466-000016 12/31/2015
Case 2:15-cv-02561-STA-cgc Document 23 Filed 12/31/15 Page 2 of 2               PageID 545



                                                   Respectfully submitted,

                                                   s/ Mason W. Wilson
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                                                   Lindsey U.S., Inc.


                                CERTIFICATE OF SERVICE

        I hereby certify that on December 31, 2015, I filed the foregoing via the Court’s
electronic filing system, which sent notice to the following:

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                                                   s/ Mason W. Wilson




                                               2

M MWW 2719551 v1
2790466-000016 12/31/2015
